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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 IN RE: POLARIS MARKETING,                      18-CV-0939 (WMW-DTS)
 SALES PRACTICES, AND
 PRODUCTS LIABILITY LITIGATION


               DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
                CONSOLIDATED CLASS ACTION COMPLAINT

       Defendants Polaris Industries Inc. and Polaris Sales Inc. (collectively, “Polaris”)

respectfully move this Court under Federal Rules of Civil Procedure 9(b) and 12(b)(6) to

dismiss the following claims asserted by the named plaintiffs in the Consolidated Class

Action Complaint [Dkt. 35] for failure to state a claim upon which relief can be granted

and for failure to plead fraud with particularity:

       • Alabama plaintiff James Bruner: Counts 1-6.

       • California plaintiff Jose Luna: Counts 1, 7 and 10-12.

       • Florida plaintiff Clint Halvorsrod: Counts 1 and 13-16.

       • Georgia plaintiff Robert Lenz: Counts 1 and 17-21.

       • Illinois plaintiff Michael Zeeck: Counts 1 and 22-25.

       • Michigan plaintiff Chad Rogers: Counts 1 and 26-30.

       • Minnesota plaintiff Richard Berens: Counts 1 and 31-35.

       • North Carolina plaintiff Steve Bailey: Counts 1 and 36-40.

       • Ohio plaintiff Michael Jacks: Counts 1 and 41-45.

       • Texas plaintiff Bryan Forrest: Counts 1 and 46-50.
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      • Wyoming plaintiff Ed Beattie: Counts 1 and 51-54.

      • Putative Nationwide Class (Magnuson-Moss Warranty Act): Count 1.

      A more particular statement of the grounds for this motion is found in defendants’

memorandum of law filed and served with this motion and incorporated by reference.



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